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        (a)




        (b)




        (c)




        (d)




        (e)



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        (f)




        (g)




                                    3
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                                    4
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  (a)




  (b)




  (c)
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